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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

HRVOJE CRNECKI, as Father and Next                )
Friend of LIAM BACH CRNECKI, a Minor,             )
                                                  )
                       Plaintiff,                 )
                                                       No. 16 C 7561
                                                  )
                       v.                         )
                                                       Formerly Case No. 2016 L 1531
                                                  )
                                                       Circuit Court of Cook County, Illinois
GIOVANNI CURCIO, M.D.,                            )
                                                  )
                       Defendant.                 )

                NOTICE OF REMOVAL OF A CIVIL ACTION AND
       SUBSTITUTION OF THE UNITED STATES OF AMERICA AS DEFENDANT

 To:     Dorothy Brown                                 Timothy S. Tomasik
         Clerk of the Circuit Court                    Tomasik Kotin Kassermann, LLC
         Richard J. Daley Center, Room 1001            10 South LaSalle Street, Suite 2920
         50 West Washington Street                     Chicago, Illinois 60603
         Chicago, Illinois 60602

        The United States, by its attorney, Zachary T. Fardon, United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

        1.     On February 16, 2016, plaintiff Hrvoje Crnecki, as father and next friend of Liam

Bach Crnecki, a minor, commenced the above civil action against Giovanni Curcio, M.D.,

alleging medical malpractice. A copy of the state court complaint is attached as Exhibit A. For

purposes of this lawsuit, Giovanni Curcio, M.D.’s services were rendered in connection with his

employment at Visiting Nurse Association of Fox Valley, a/k/a VNA Health Care (“VNA Health

Center”), which is a private entity that receives grant money from the Public Health Service

pursuant to 42 U.S.C. § 233. Exhibit B. Giovanni Curcio, M.D. was acting within the scope of
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his employment at the VNA Health Center with respect to the incidents referred to in the

complaint. Id.

       2.        This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that VNA Health

Center was a private entity receiving grant money from the Public Health Service and that

defendant Giovanni Curcio, M.D., was acting within the scope of his employment at the VNA

Health Center with respect to the incidents referred to in the complaint. Exhibit B.

       3.        This notice of removal may be filed without bond at any time before trial. 42

U.S.C. § 233(c). Trial has not yet been had in this action.

       4.        Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendant Giovanni Curcio, M.D.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted

as a defendant in the place of Giovanni Curcio, M.D.

                                              Respectfully submitted,

                                              ZACHARY T. FARDON
                                              United States Attorney

                                              By: s/ Jaret R. Fishman
                                                 JARET R. FISHMAN
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